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                 EXHIBIT 2
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                     IN THE SUPERIOR COURT OF DEKALB COUNTY
                                      STATE OF GEORGIA


COLLETTE MCDONALD AND COLLETTE
MCDONALD & ASSOCIATES,LLC,
                                                              CIVIL ACTION NO.
                                                              17m7642-6
                              Plaintiffs,                        oJ

V.



ALEXANDER E. KAHN,THE LAW OFFICE
OF ALEXANDER E. KAHN,LLC, AND
TROY HOLDINGS,LLC,

                               Defendants.


      ORDER GRANTING PLAINTIFFS' MOTION FOR DEFAULT JUDGMENT


       The above-styled matter came before this Court on Plaintiffs' Motion for Default

Judgment and Amended Motion for Default Judgment. This Court finds as follows:

       On July 14, 2017, Plaintiffs filed their Complaint against Defendants alleging simple

negligence, conversion, unjust enrichment, money had and received, replevin, breach of contract,

and punitive damage after Defendants failed to return $300,000.00 to Plaintiff and failed to file

tax returns on behalf of Plaintiffs. Defendants were served on July 26,2017, and the Return of

Service was filed on July 28,2017. Forty-five (45) days have passed since Defendants were

served, and Defendants still have not answered.

        Accordingly, this Court finds that Defendants failed to respond to Plaintiffs' Complaint

within thirty (30) days from the date of service. This Court further finds that an additional fifteen

(15) days elapsed since the day of default and that Defendants failed to open default as a matter

of right by the filing of any defensive pleadings,     O.C.G.A. § 9-11-55.

       As such, Plaintiffs are entitled to verdict and judgment by default as if every item and

paragraph of their Complaint were supported by proper evidence, without the intervention of a
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    jury. Id. Therefore, based on the foregoing, this Court finds that this case is in default in

    accordance with O.C.G.A. § 9-ll-55(a) and HEREBY AWARDS Plaintiffs a Default

    Judgment as to the issue of liability.

           Because the action involves unliquidated damages. Plaintiffs are required to introduce

    evidence and establish the amount of damages before this Court. Id This Court HEREBY
X


    ORDERS all parties and respective counsel to appear before this Court on the ^             day

    of                 2017, at 9:00 a.m. for a hearing on damages, uq      tOUr-l-ozroo^ *7^

           It is so ORDERED,this "2-^ day of October, 2017.

                                                        J. P.^ULEE,Judge
                                                        Superior Court of DeKalb County
          ^ P«0e8ilieyli^ni§wn                          Stone Mountain Judicial Circuit
            ^court reporter if they want
                ^e case reported.


    cc:    Lawrence B. Domenico
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